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                                                     STEVEN A. METCALF II, ESQ., Managing Attorney
                                                   NANETTE IDA METCALF, ESQ., Managing Attorney**
                                                        MARTIN TANKLEFF, ESQ., Associate Attorney
                                                        CHRISTOPHER DARDEN, ESQ., Special Counsel*
                                                                JOSEPH D.MCBRIDE, ESQ., of Counsel
                                                                    MARC HOWARD, ESQ. of Counsel




            EXHIBIT C
                            Metcalf & Metcalf, P.C.
                                 99 Park Avenue, 25th Floor
                                   New York, NY 10016
                                    646.253.0514 (Phone)
                                     646.219.2012 (Fax)
Case
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff
                                                                      Request for Certificate of Default
         - against -

  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 TO: DOUGLAS C. PALMER, CLERK
     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK

          Plaintiff in the above-captioned action request that defaults be entered against Defendant
 Wingfield Capital Corporation pursuant to Rule 55(a) of the Federal Rules of Civil Procedure for
 failure to timely plead or otherwise defend this action as fully appears from the court file and the
 attached declaration of Nicholas Bowers, Esq.



 Dated: Brooklyn, New York
        July 20, 2020

                                                      Respectfully Submitted,
                                                      ______/s/ ____________
                                                      Nicholas Bowers, Esq.
                                                      Gary Tsirelman P.C.
                                                      Attorneys for Plaintiff
                                                      129 Livingston St.
                                                      Brooklyn NY 11201
                                                      Email: nbowers@gtmdjd.com
Case
 Case1:17-cv-02374-RRM-ST
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
Capital 7 Funding,
                                                                     Docket No. 17-cv-2374
                          Plaintiff

                          - against -                                Declaration in Support of Request
                                                                     for Certificate of Default
 Wingfield Capital Corporation, Prestige Investment
 Associates, Inc., d/b/a Prestige Investments USA,
 and First Choice Payment Systems, Inc., d/b/a 1st
 Choice Payments
                          Corporate Defendants

        And

 Burgis Sethna, a/k/a Seth Burgess, Heath
 Wagenheim, Joseph Rabito, Damian Laljie a/k/a
 Damian Laltie, and John Does 1 through 15,
                     Individual Defendants

-----------------------------------------------------------------X

                        DECLARATION OF NICHOLAS BOWERS, ESQ.

I, Nicholas Bowers, declare under penalty of perjury that:


1. I am an associate attorney with Gary Tsirelman, P.C., counsel to Plaintiff Capital 7 Funding in

the above-captioned matter.


2. I submit this declaration pursuant to Rule 55. l of the Local Civil Rules for the Eastern District

of New York and in support of Plaintiffs request for a certificate of default against Defendant

Wingfield Capital Corporation ("Wingfield").


3. This action seeks damages from Wingfield for its conduct and direction of Defendants'

fraudulent enterprise that defrauded Plaintiff.
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4. Jurisdiction of this action is based upon 28 U.S.C § 1331 because Plaintiff brings its claims, in

part, under the laws of the United States, specifically 18 U.S.C. § 196 1 through 1968 (the

Racketeer Influenced and Corrupt Organizations ("RICO") Act). This Court has supplemental

jurisdiction of Plaintiffs state law claims pursuant to 29 U.S.C. § 1367. This District is an

appropriate venue pursuant to 28 U.S.C. § 1391, one or more of the Defendants resides in the

Eastern District of New York and because this is the District where a substantial amount of the

activities forming the basis of the Complaint occurred.


5. The Complaint was filed on April 20, 2017. ECF No. 1. Plaintiff filed an Amended Complaint

on May 4, 2017. ECF No. 4. Plaintiff served Wingfield with the Amended Complaint on June 6,

2017. See Exhibit A. Plaintiff subsequently filed a Second Amended Complaint on August 31,

20 17. ECF No. 26.


6. Wingfield retained counsel on February 20, 2018. ECF No. 34.


7. Wingfield requested a pre-motion conference from the Court regarding a motion to dismiss the

Second Amended Complaint. ECF No. 42. The Court issued an order on March 22, 2019 allowing

all Defendants to file motions to dismiss.


8. Wingfield filed a motion to dismiss the Second Amended Complaint on June 21, 2019. The

Court denied Wingfield's motion in its entirety on May 29, 2020. ECF No. 82.


9. Pursuant to Federal Rule of Civil Procedure 12(a)(4)(A), Wingfield's responsive pleading was

due filed or served on June 15, 2020. Wingfield has not filed or served any responsive pleading or

appeal after filing the motion to dismiss. Wingfield's time to respond has expired.
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10. This action seeks judgment against Wingfield for compensatory damages, punitive damages,

treble damages, costs, and reasonable counsel fees.




Dated: Brooklyn, New York
       July 20, 2020



                                            Nicholas Bowers, Esq.
                                            Gary Tsirelman P.C.
                                            Attorneys for Plaintiff
                                            129 Livingston St.
                                            Brooklyn NY 11201
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                                                       AFFIDAVIT OF SERVICE
                                           UNITED STATES DISTRICT COURT
                                               Eastern District of New York
 Index Number: 1 7-CV-2374                                                                                                Date Filed: ____


 Plaintiff:
 Capital 7 Funding
 vs.
 Defendant:
 Wingfield Capital Corporation, et al.

 State of New York, County of Albany)ss.:


 Received by Undisputed Legal Inc. to be served on Wingfield Capital Corporation.

 I , James Boland, being duly sworn, depose and say that on the 6th day of June, 2017 at 2:30 pm, I:

 Served Wingfield Capital Corporation by delivering two true copies of the Summons in a Civil Action Rider A
 and Amended Complaint pursuant to section 306 BCL together with statutory service fee in the amount of
 $40.00 to Sue Zouky as Business Document Specialist 2 of The New York State Department of State, 99
 Washington Avenue, Albany, NY, 1 2207, the New York State Department of State being the Registered Agent of
 record of the within named corporation, in compliance with state statutes.


 Description of Person Served: Age: 64, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 1 50, Hair: Brown,
 Glasses: N

 I am over the age of 1 8 and have no interest in the above action.




 ofJune, 201 7                                                                        Undisputed Legal Inc.
 to me.                                                                               590 Madison Avenue
                                                                                      21st Floor
                                                                                      New York, NY 10022
   NOTARY PUBLIC                                                                      (212) 203-8001
           PATRI CIA A. BU E                                                          Our Job Serial Number: 201700 1 51 3
                 tc-srATE F NEW voRK
                                           rj1J luV
l'iorMv   PUBL
            No. 01 SU49223 7 2
     Gl'uoil fied In Alba ny county
My Commission   Expires Februa ry 28, __..copyright © 1992-2009 Database Services, Inc. - Process Serve(s Toolbox V6.3x
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                         State of New York - Department of State
                                   Receipt for Service

Receipt # : 2 0 1 7 0 6 0 8 0 4 6 3                       Cash # : 2 0 1 7 0 6 0 8 0 2 0 7
Date o f Service : 0 6 / 0 6 / 2 0 17                  Fee Paid : $ 4 0 - CHECK
Service Company : 3 1 SERVINATOR LEGAL SUPPORT SERVICES , INC .
Service was directed to be made pursuant to :         SECTION 3 0 6 OF THE BUSINESS
   CORPORATION LAW
Party Served :    WINGFIELD CAPITAL CORPORATION


Plaint i f f / Petit ioner :
                     CAPITAL   7   FUNDING



Service of Process Addre s s :
WINGFIELD CAPITAL CORPORATION
2 2 CORTLANDT ST
FLOOR 1 1
NEW YORK, · NY 1 0 0 0 7
                                                                        Secretary o f State
                                                                             By SUE ZOUKY
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 Capital 7 Funding,
                                                                      Docket No. 17-cv-2374
                           Plaintiff

                       - against -                                    Certificate of Default
  Wingfield Capital Corporation, Prestige Investment
  Associates, Inc., d/b/a Prestige Investments USA,
  and First Choice Payment Systems, Inc., d/b/a 1st
  Choice Payments
                       Corporate Defendants

         And

  Burgis Sethna, a/k/a Seth Burgess, Heath
  Wagenheim, Joseph Rabito, Damian Laljie a/k/a
  Damian Laltie, and John Does 1 through 15,
                      Individual Defendants

 -----------------------------------------------------------------X

 I, Douglas Palmer, Clerk of the Court of the United States District Court for the Eastern
 District of New York, do hereby certify that Defendant Wingfield Capital Corporation has not
 filed an answer or otherwise moved with respect to the above-captioned action as fully appears
 from the court file herein and from the Declaration of Nicholas Bowers, annexed hereto. The
 default of Defendant Wingfield Capital Corporation is hereby noted pursuant to Rule 55(a) of the
 Federal Rules of Civil Procedure.



 Dated: Brooklyn, New York
 ________________, 2020
                                                                                DOUGLAS C. PALMER
                                                                                         Clerk of Court
                                                                          By: _______________________
                                                                                          Deputy Clerk
